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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

  MINERVA NIEVES,

       Plaintiff,

  v.                                                  CASE NO.: 6:17-cv-00128-CEM-GJK

  HYUNDAI CAPITAL AMERICA, INC.,

       Defendant.
                                           /

                                  NOTICE OF SETTLEMENT

           Plaintiff,   Minerva   Nieves, by and through            her   undersigned    counsel,

  hereby notifies the Court that the parties, Plaintiff, Minerva Nieves, and

  Defendant, Hyundai Capital America, Inc., have reached a settlement with regard to this

  case, and are presently drafting, finalizing, and formalizing such. Upon execution of the

  same      and     certain   terms   of   the   agreement,   the     parties   will    file   the

  appropriate dismissal documents to dismiss this matter with prejudice.


                                                         /s/ Jared M. Lee
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                             CERTIFICATE OF SERVICE:

         I HEREBY CERTIFY on November 27, 2017, I electronically filed the foregoing

  document with the United States District Court, Middle District of Florida, Orlando

  Division by using the CM/ECF system. I certify the following parties or their counsel of

  record are registered as ECF Filers and that they will be served by the CM/ECF system:

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                                                       /s/ Jared M. Lee
                                                       Jared M. Lee, Esquire




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